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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                 JUDGE R. BROOKE JACKSON


Criminal Action:       20-cr-00153-RBJ                        Date: August 10, 2020
Courtroom Deputy:      Sabrina Grimm                          Court Reporter: Sarah Mitchell
Interpreter:           Bety Ziman                             Probation: N/A

                 Parties                                                   Counsel

 UNITED STATES OF AMERICA,                                             Andrea Surratt
                 Plaintiff

 v.

 2. CARLOS FONG ECHAVARRIA,                                           Timothy O’Hara
                 Defendant


                                     COURTROOM MINUTES


CHANGE OF PLEA HEARING

Court in session: 8:31 a.m.

Appearances of counsel.

Defendant is present in custody.

The Plea Agreement (Court Exhibit 1), Spanish Translation of the Plea Agreement (Court
Exhibit 1A), Defendant’s Statement in Advance of Plea of Guilty (Court Exhibit 2), Spanish
Translation of Defendant’s Statement in Advance of Plea of Guilty (Court Exhibit 2A), Court
Exhibit 3, and Court Exhibit 3A are tendered to the Court.

Defendant is sworn.

Defendant's right to trial by jury and other constitutional rights explained.

Factual basis for the plea stated.

Defendant advised of maximum penalties, sentencing guidelines and appeal rights.
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Defendant enters plea of guilty to Counts 3 and 4 of the Superseding Indictment pursuant to the
plea agreement.

The Court finds that the defendant has knowingly, intelligently, and voluntarily entered a plea of
guilty.

ORDERED: The plea of guilty to Counts 3 and 4 of the Superseding Indictment entered
         by the defendant is accepted, the defendant is found guilty of the crime
         charged.

               The Probation Department shall conduct a presentence investigation and file
               a presentence report as required by 18 U.S.C. § 3552 and Fed.R.Crim.P. 32.

               Sentencing is set for November 16, 2022 at 1:30 p.m. before the Honorable
               Judge R. Brooke Jackson in Courtroom A-902, Ninth Floor, Alfred A. Arraj
               United States Courthouse, 901 19th Street, Denver, Colorado 80294.

               The defendant is remanded to the custody of the United States Marshal.

Court in Recess: 8:51 a.m.            Hearing concluded.            Total time in Court: 00:20
